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                                            +1-212-474-1650

                                          lkennedy@cravath.com



                                                                                    October 18, 2020

                               In re GreenSky Securities Litigation
                                       No. 1:18-cv-11071

Dear Judge Hellerstein:

                We write on behalf of all Parties in the above-captioned Action 1 to update
the Court in advance of the October 19, 2020 conference to review and resolve privilege
disputes. (See ECF No. 160.) Following several meet and confers, the Parties have been
able to resolve all privilege challenges and do not require the Court’s intervention on
such issues.

              The Parties of course remain available to meet with the Court on
October 19, 2020, to address any other issues the Court wishes.

                                                         Respectfully,

                                                          /s/ Lauren R. Kennedy

                                                         Lauren R. Kennedy




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       The Parties to this Action are Lead Plaintiffs Northeast Carpenters Annuity Fund, El Paso Fireman
& Policemen’s Pension Fund, and the Employees’ Retirement System of the City of Baton Rouge and
Parish of East Baton Rouge; GreenSky Defendants GreenSky, Inc., David Zalik, Robert Partlow, Joel
Babbit, Gerald Benjamin, John Flynn, Nigel Morris, Robert Sheft; and Underwriter Defendants Goldman
Sachs & Co. LLC, J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, Citigroup Global Markets
Inc., Credit Suisse Securities (USA) LLC, Merrill Lynch, Pierce, Fenner & Smith Inc., SunTrust Robinson
Humphrey, Inc., Raymond James & Associates, Inc., Sandler O’Neill & Partners, L.P., Fifth Third
Securities, Inc., and Guggenheim Securities, LLC.
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The Honorable Alvin K. Hellerstein
      United States District Court
             Southern District of New York
             40 Foley Square, Room 1050
                 New York, NY 10007

cc: All Counsel of Record (via ECF)
